Case 18-53457-bem         Doc 18         Filed 06/21/18 Entered 06/21/18 07:50:58   Desc
                                              Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

                             TRUSTEE’S SUPPLEMENTAL REPORT

                            FOLLOWING CONFIRMATION HEARING


  CASE NO.   A18-53457-BEM                           ELLIS-MONRO, JUDGE
  DEBTOR(S): RICKIE L. DEAN, SR.                     DATE: MAY 16, 2018

          SONYA M. BUCKLEY TO REPORT BACK IN 10 DAYS

          DEBTOR TO PROVIDE ALL TAX RETURNS.


          THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

          RECOMMENDS AGAINST CONFIRMATION BECAUSE:
          THE TRUSTEE HAS NOT RECEIVED ALL TAX RETURNS.
          PLEASE ENTER AN ORDER OF DISMISSAL.




          June 21, 2018



                                                       /s
                                            Sonya M. Buckley, Esq.
                                            for Chapter 13 Trustee
                                            GA. Bar No. 140987




  Mary Ida Townson, Chapter 13 Trustee
  191 Peachtree Street, NE
  Suite 2200
  Atlanta, GA 30303-1740
  404-525-1110
Case 18-53457-bem         Doc 18         Filed 06/21/18 Entered 06/21/18 07:50:58   Desc
                                              Page 2 of 2




                                  CERTIFICATE OF SERVICE

          This is to certify that I have this day served


  DEBTOR(S):

  RICKIE L. DEAN, SR.
  6839 BRIDGEWOOD DR
  AUSTELL, GA 30168

  ATTORNEY FOR DEBTOR(S):

  THE SEMRAD LAW FIRM
  303 PERIMETER CENTER N
  STE 201
  ATLANTA, GA 30346



  in the above in the foregoing matter with a copy of this pleading
  by depositing same in the United States Mail in a properly
  addressed envelope with adequate postage thereon.

  This 21st      day of June, 2018

       /s
  Sonya M. Buckley, Esq.
  for Chapter 13 Trustee
  GA. Bar No. 140987




  Mary Ida Townson, Chapter 13 Trustee
  191 Peachtree Street, NE
  Suite 2200
  Atlanta, GA 30303-1740
  404-525-1110
